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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SECURITIES and EXCHANGE
COMMISSION,
Plaintiff,
v. : Civil Action No.: RDB-18-02844

KEVIN B. MERRILL, et al.,

Defendants. :
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ORDER
Upon consideration of the Government’s Motion to Intervene and Stay
Proceedings, it is hereby ORDERED that the Government’s motion is GRANTED:

I, The United States is permitted to intervene in the captioned case.

2, Defendants’ obligation to respond to the Complaint and all discovery in the
captioned case is stayed pending the resolution of the criminal action in this district: United
States v. Kevin B. Merrill, et al, Criminal No. RDB-18-0465. Nothing in this Order impedes the
ability of the Securities and Exchange Commission (the “SEC”) to conduct any investigation of
individuals or entities not named as Defendants in the SEC’s Complaint.

3. The Preliminary Injunction Order (ECF No. 28), including the asset freeze and
receivership provisions contained therein, remains in full force and effect. The receivership, any

order related to the receivership, and all powers granted to the Receiver shall remain in full force

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Richard D. Bennett
United States District Judge

and effect.

Date: OCT 06GA 25, elf

 
